                      Case 2:13-cr-00166-KJM  Document
                                   IN THE UNITED STATES 92 Filed 04/09/14
                                                        DISTRICT  COURT Page 1 of 1
                                              EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                 Plaintiff,

                         v.                                CR NO: 2:13-CR-0166 LKK

ERIK MORENO

                                Defendant.


                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:       Erik Moreno
Detained at             Deuel Vocational Institution, 23500 Kasson Road, Tracy
(custodian):
Detainee is:            a.)    ☐ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                        CA       charging detainee with: 21 U.S.C. § 841(a)(1)
                 or     b.)    ☐ a witness not otherwise available by ordinary process of the Court
                                 ___________________
Detainee will:          a.)      ☐ ___________________
                                   return to the custody of detaining facility upon termination of proceedings
                 or     b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                  is
                                   ____________
                                     currently being served at the detaining facility

                              Appearance is necessary FORTHWITH in the Eastern District of CA

                        Signature:                          California.
                                                                 /s/ Christiaan H. Highsmith
                        Printed Name & Phone No:                 Christiaan H. Highsmith (916) 554-2739
                        Attorney of Record for:                  United States of America

                                              WRIT OF HABEAS CORPUS
                              ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated: 4/8/2014                                            /s/ Carolyn K. Delaney
                                                           Honorable Carolyn K. Delaney
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                  ☒Male      ☐Female
Booking or CDC #:        CDC# AT0788                                                        DOB:
applicable):
Facility Address:        23500 Kasson Road, Tracy, CA 95376                                 Race:
Facility Phone:          (209) 835-4141                                                     FBI#:
Currently

Incarcerated For:                                   RETURN OF SERVICE
Executed on:
                                                              (signature)
